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     Telephone: (916) 554-2932
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: January 22, 2013
                                           )    TIME: 9:45 a.m.
14   ORLANDO FLETES-LOPEZ,                 )    COURT: Hon. John A. Mendez
                                           )
15                      Defendant.         )
                                           )
16                                         )
                                           )
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18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff, and Tim
21   Pori, attorney for defendant Orlando Fletes-Lopez that the
22   previously-noticed hearing date of January 22, 2013, be vacated and
23   the matter re-scheduled for March 5, 2013, at 9:45 a.m.           The parties
24   further request that the Court order the government’s response be due
25   on February 19, 2013, and the defendant’s reply, if any, be due on
26   February 26, 2013.
27        This request is made jointly by the government and defense.
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 1   Dated: January 14, 2013                 /s/ Paul Hemesath
                                             Paul Hemesath
 2                                           Assistant United States Attorney
                                             Counsel for Plaintiff
 3
 4   Dated: January 14, 2013                 /s/ Tim Pori
                                             TIM PORI
 5                                           Attorney for Defendant
                                             ORLANDO FLETES-LOPEZ
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10                                     O R D E R
11        Having received, read, and considered the stipulation of the
12   parties, and good cause appearing therefrom, the Court orders that
13   the hearing currently noticed for January 22, 2013, shall be re-
14   scheduled for March 5, 2013.      It is further ordered that the
15   governments response to defendant’s motion shall be filed no later
16   than February 19, 2013 and defendant’s reply, if any, shall be filed
17   no later than February 26, 2013.
18
     Dated: 1/16/2013
19                                           /s/ John A. Mendez
                                             Hon. John A. Mendez
20                                           United States District Court Judge
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